                  Case 1:19-mj-06978-UA Document 3 Filed 07/26/19 Page 1 of 1
I H-11.Revised 8/2010

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------   X

    UNITED STATES OF AMERICA                                   ORDER APPOINTING COUNSEL
                                                               (Federal Defenders of New York, Inc.)
                        -v-                          .
                                                                            q ./l!t/f£(;17JB
VeLDWIJ-tL
    ·
           fil~    ~v
              Defendant
                                                               Docket# /



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_ · Because the above name· defendant has.. testified under oath or otherwise satisfied this
Court that he ·or she: (1) is financially unable to employ counsel, and (2) does not wish to
waive counsel, and because the interest of justice so- require, the FEDERAL DEFENDERS
OF NEW YORK, INC. is hereby appointed to represent the defendant in the above designated case
for the following purpos~: /

        Check one)      _/L.       all proceedings

                                   bail/presentiment only     J/J .
                                   other (specify)       _,,_,_kb~~~~~~--
                                                                      __._-·-ff-+-+&-~. .U-h(/~C.)~_
                                                                                         .
        If the case proceeds to the U.S. District Court, the appointment shall remain in effect
until terminate or a substitute attorney is appointed.

Date




TO:     CLERK OF COURT
        United States District Court
        Southern District of New York

        Federal Defenders of New York, Inc.
        52 Duane Street, 10th Floor
        New York, New York 10007

Copy 1 - Retain in Magistrate Judge File
Copy 2 - To Federal Defenders of New York, Inc.
Copy 3 - To U.S.D.C. Clerks Office (Attn: C.J.A. Clerk)
